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IN THE UNITED sTATES DlsTRICT COURT F“'ED B"” %-- D-C-
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 95 AUG *9 PH l= 33

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JOHNNY BEARD, FRED BAKER &
SONS ELECTRIC, INC.,

    

)
)
)
Plaintiff, )
)
v. ) No. 04_2417 B/An
)
BEN]CORP INSURANCE Co., )
)
)

Defendant.

 

ORDER GRANTING MOTION TO STAY DISPOSITIVE MOTION DEADLINE

 

Before the Court is Defendant’s Unopposed Second Motion to Stay Dispositive Motion
Deadline filed on June 24, 2005. For good cause shown, the Motion is GRANTED. The
dispositive motion deadline in this matter shall be stayed until 30 days after the Court rules on
Defendant’s Motion to Dismiss.

IT IS SO ORDERED.

(§/F'/Z;W faa

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Date: DJ:_ 219be

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
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Honorable .l. Breen
US DISTRICT COURT

